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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA
                                             )         CASE NO. 8:17CR18
UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )                 ORDER
       -vs-                                  )
                                             )
Machelle R. Sanchez,                         )
                                             )
                     Defendant.              )

       This matter comes before the Court on the request of the Federal Public

Defender for the Court to authorize Dami J. Oluyole, as a Criminal Justice Act Training

Panel Member, to assist in the defense of Machelle R. Sanchez.

       Accordingly, pursuant to the terms of Appendix I, Part 1(c) of the Amended

Criminal Justice Act Plan for the District of Nebraska, Dami J. Oluyole is hereby

assigned to assist Richard H. McWilliams in the representation of the Defendant in the

above-captioned case, and must file an entry of appearance forthwith. Dami Oluyole

shall not be eligible to receive compensation for his services in this case.

       Assistant Federal Public Defender Richard H. McWilliams shall continue to be

primary counsel on behalf of the Defendant, Machelle R. Sanchez.

       Dated this 22nd day of February, 2017.

                                     BY THE COURT:

                                     s/ Susan M. Bazis
                                     United States Magistrate Judge
